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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                    GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                              Plaintiffs,
           v.
                                                       Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                              Defendants.



  DEFENDANTS’ NOTICE OF COMPLIANCE WITH PRELIMINARY INJUNCTION
          AND REQUEST FOR A STAY OF ALL CASE DEADLINES

       On April 4, 2025, this Court ordered Defendants to “facilitate … the return of Plaintiff

Kilmar Armando Abrego Garcia to the United States[.]” ECF 21 at 2. Defendants hereby provide

notice that they have complied with the Court’s order, and indeed have successfully facilitated

Abrego Garcia’s return. As the Attorney General recently announced, Abrego Garcia was returned

to the United States today, to stand trial on criminal charges in the Middle District of Tennessee.

Considering this development, the Court’s preliminary injunction should be dissolved, and the

underlying case should be dismissed as moot. Defendants intend to formally move to dismiss

Plaintiffs’ Complaint on this basis. In the meantime, Defendants respectfully request an immediate

stay of all case deadlines.




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Dated: June 6, 2025                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on June 6, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


                                                    Drew C. Ensign
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